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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

EQT PRODUCTION COMPANY,

                 Plaintiff,

v.                                  //     CIVIL ACTION NO. 1:18CV72
                                                (Judge Keeley)

AUSTIN CAPERTON,
in his official capacity as
Secretary of the West Virginia Department
of Environmental Protection,

                 Defendant.


                 ORDER SETTING SCHEDULING CONFERENCE

     For good cause, the Court will conduct a scheduling conference

in this case on Monday, December 10, 2018, at 1:30 P.M. If counsel

elect to proceed by telephone, the Court DIRECTS lead counsel for

the plaintiff to arrange the conference call and provide dial-in

information    to   all   parties        and   the   Court,   by   email   to

candace_levitsky@wvnd.uscourts.gov, no later than December 3, 2018.

Pursuant to the Court’s First Order and Notice Regarding Discovery

and Scheduling (Dkt. No. 6), any pending motions in the case that

are fully briefed will be addressed at the scheduling conference.

     It is so ORDERED.

     The Court DIRECTS the Clerk to transmit copies of this Order

to counsel of record.

DATED: September 28, 2018

                                    /s/ Irene M. Keeley
                                    IRENE M. KEELEY
                                    UNITED STATES DISTRICT JUDGE
